747 F.2d 487
    Bankr. L. Rep.  P 70,118In the Matter of CASSIDY LAND AND CATTLE CO., INC., Debtor.CASSIDY LAND AND CATTLE CO., INC., Appellant,v.COMMERCIAL NATIONAL BANK &amp; TRUST COMPANY, Appellee.
    No. 84-1209.
    United States Court of Appeals,Eighth Circuit.
    Submitted Oct. 1, 1984.Decided Nov. 2, 1984.
    
      E. Dean Hascall, Bellevue, Neb., for appellant.
      Steven C. Turner, Omaha, Neb., for appellee.
      Before McMILLIAN, JOHN R. GIBSON, and BOWMAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Cassidy Land and Cattle Company, a family corporation engaged in the farming and ranching business, filed a petition under chapter 11 of the Bankruptcy Code, 11 U.S.C. Secs. 1101-1146 (1982), in July 1982.  Cassidy now appeals from the district court's1 judgment approving the bankruptcy court's2 confirmation of a liquidation plan over Cassidy's objection.  For reversal, Cassidy argues that because farmers enjoy a favored status under the Bankruptcy Code, when a farmer files a voluntary chapter 11 petition a bankruptcy court may not confirm a liquidation plan without the farmer's consent.  We affirm.
    
    
      2
      When Cassidy filed its chapter 11 petition in July 1982, it indicated that it intended to file a reorganization plan.  It failed to do so within 120 days from the date of filing, however, and did not seek an extension.  Thereafter, on December 21, 1982, Commercial National Bank and Trust Company, Cassidy's principal creditor, filed a creditor's plan of reorganization which called for the sale of all of Cassidy's assets.
    
    
      3
      The proceedings, rulings, and arguments in the bankruptcy and district courts were nearly identical to those outlined in a case we have decided today, In re Button Hook Cattle Co., 747 F.2d 483, No. 84-1210 (8th Cir.1984).  The same issues are raised on this appeal.  In In re Button Hook Cattle Co. we examined the same issue presented in this case:  whether a farmer who files a chapter 11 petition but fails to submit a reorganization plan within 120 days from filing is thereafter vulnerable to a liquidation plan filed by a party in interest to the chapter 11 proceeding.  We held there that in such a situation a bankruptcy court may confirm a liquidation plan over the objection of the farmer-debtor.  Our decision in In re Button Hook Cattle Co. governs this case.
    
    
      4
      Accordingly, we affirm the district court's decision approving the bankruptcy court's confirmation in this case.
    
    
      
        1
         The Honorable Albert G. Schatz, United States District Judge for the District of Nebraska
      
      
        2
         The Honorable David L. Crawford, United States Bankruptcy Judge for the District of Nebraska
      
    
    